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May 20, 2021

Via Email and Regular First-Class Mail

Anne Pantelas

President

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Dear Ms. Pantelas:

I am counsel for HASelect-FTM Medical Receivables Litigation Finance Fund SP
(“Lender”). I am writing regarding the Second Amended & Restated Loan and Security
Agreement dated December 18, 2019 (the “MLA”), entered between Lender and Infinity Capital
Management, Inc. (“Borrower”). The MLA is further evidenced by a Promissory Note dated
December 18, 2019 (the “Note,” and together with the MLA, the “Loan Documents”). The loan
is secured by Collateral defined in Section 4.1 of the MLA, and the Receivables and Claims as
defined in the Note and MLA (collectively, the “Collateral”).

Pursuant to the Loan Documents, the Lender requires Borrower to perform certain duties
and obligations. More specifically, Lender demands as follows:

1. Permit Lender to examine and audit Borrower’s books and records, MLA §
6.1, including inspection of all Collateral for the Loan and to make copies of the same.
MLA § 6.9.

io Borrower shall provide an audited balance sheet and income statement for

the most recent fiscal year. MLA § 6.2(1).
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Bi Borrower shall provide copies of its balance sheet and income statement for
the first quarter of 2021. MLA § 6.2(2).
4. Borrower shall inform Lender in writing of (a) all material adverse changes

in Borrower’s financial condition, (b) all existing and threatened . . . litigation, claims .. .
or similar actions which are reasonably likely to have a material adverse effect on the
financial condition of Borrower[.]” MLA § 6.3.

a. Borrower shall identify all business activities in which it is presently
engaged that are substantially different than those in which Borrower was engaged at the
time of the execution of the MLA. MLA § 7.1(1).

6. Borrower shall identify all parties involved in the management of Borrower
and all of its owners or those having or claiming an economic interest in the income or
equity of Borrower at any time since the execution of the MLA, including in any entity
controlled by, controlling, or under common control with Borrower. MLA § 5.12.

dT Borrower shall identify any indebtedness of any kind (including any further
indebtedness associated with Permitted Liens) other than from Lender after the Effective
Date. MLA § 7.4.

To be clear, and without limitation to Borrower’s obligation to completely and timely

respond to the items above, Lender demands that Borrower immediately provide Lender with:

(a)
(b)

(c)

(d)

(e)

(f)

access to all of Borrower’s deposit accounts wherever located and with whomever held;
access to Borrower’s database which tracks and maintains records of Lender’s medical
receivables Collateral;

copies of all of the FTM Notes (as defined in the MLA and described in Schedule I of the
MLA);

all other promissory notes, loan agreements, amendments, modifications or other
documents concerning any borrowing or indebtedness of any kind with respect to any of
the FTM Parties (as defined in the MLA) or any other entity from whom Borrower
borrowed funds, including but not limited to the entity known as “Coastal”;

all agreements and documents concerning any involvement of Borrower in any entity in
which the FTM Parties have any ownership interest in Borrower or in any entity controlled
by, controlling, or under common control with Borrower; and

all other documents, agreements, and instruments in connection with any of the foregoing
documents.

If complete and timely responses to all above items are not received within 15 days, Lender

shall pursue all appropriate relief at law and equity under the Loan Documents and applicable
laws. Please be mindful that in the absence of a complete and timely response to this letter Lender
shall be forced to declare all appropriate defaults and pursue all appropriate remedies to protect its
rights in the Collateral and Lender’s investor’s interests.
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For avoidance of doubt, nothing set forth herein is intended, nor shall it be deemed, to
modify, limit, release, reduce or waive any of Borrower duties and obligations, or Lender's rights
or remedies under the Loan Documents, or at law or in equity, all of which are hereby specifically
reserved. Moreover, neither this communication nor any ensuing discussions shall constitute an

agreement to modify the express terms of the Loan Documents. Any such modification must be
made in writing and in a form agreeable to the Lender.

Sincerely,

John N. Hourihane, Jr.

Ce: Igor Shleypak
Thomas C, Cronin
Anthony J. Nasharr
